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                                 United States District Court
                                 Western District Of Kentucky
                                      Louisville Division
                                     Electronically Filed

Rodman Ewing,                                     )
                                                  )
        Plaintiff                                 )
                                                  )
v.                                                )
                                                  )                  3-12-cv-521-H
                                                          Cause No.________________
                                                  )
Vivint, Inc.,                                     )
4931 N 300 W                                      )
Provo, UT 84604                                   )       JURY TRIAL DEMANDED
                                                  )
        SERVE:                                    )
        CT Corporation System                     )
        306 W. Main St.                           )
        Frankfort, KY 40601                       )
                                                  )
        DEFENDANT.                                )

                                      *   *   *   *   *

                                      INTRODUCTION

        1.     This is an action for actual and punitive damages for a violation of the

Fair Credit Reporting Act (“FCRA”), 15 U.S.C. § 1681 et seq. As such, this Court has

jurisdiction over this action pursuant to 15 U.S.C. § 1681p and 28 U.S.C. §1331.

        2.     Venue is appropriate in this district pursuant to 28 U.S.C. §1391 in

that a substantial part of the events or omissions giving rise to the Plaintiff’s claims

occurred in this district, and the Defendant is a person who is subject to personal

jurisdiction in this district.


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                                       PARTIES

       3.     Plaintiff, Rodman Ewing (“Mr. Ewing” or “Plaintiff”), is an individual

residing in this district. Plaintiff is a “consumer” as said term is defined by the

FCRA.

       4.     Defendant, Vivint, Inc. (“Vivint” or “Defendant”), is corporation

organized and existing under the laws of the State of Utah having a principal place

of business located at 4931 N 300 W, Provo, Utah 84604. Vivint is a “person” as said

terms is defined by the FCRA. At all pertinent times herein, Vivint was doing

business in this judicial district.

                                        FACTS

       5.     On or about May 15, 2010, Defendant requested and obtained

Plaintiff’s consumer report, as that term is defined by the FCRA (the “credit report”)

from Trans Union, LLC (“Trans Union”), without the knowledge, authorization, or

consent of Plaintiff.

       6.     Trans Union is a “consumer reporting agency” as said term is defined

by the FCRA.

       7.     Defendant did not have a “permissible purpose” for requesting, using,

or obtaining Plaintiff’s consumer report, as required by 15 U.S.C. § 1681b(f),

entitling Plaintiff to a private cause of action against Defendant for actual damages,

attorney’s fees, punitive damages, and costs.




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                                      COUNT ONE

                         Willful Noncompliance with the FCRA

         8.    Plaintiff adopts and restates herein the allegations set forth in

paragraphs 1 through 7 above.

         9.    Defendant obtained Plaintiff’s consumer credit report from Trans

Union under false pretenses or knowingly without a permissible purpose.

         10.   Defendant knowingly and willfully obtained information on Plaintiff

from Trans Union under false pretenses.

         11.   Defendant is liable to Plaintiff for its willful noncompliance with the

FCRA for actual damages, including damages suffered as the result of Plaintiff’s

mental and emotional distress, anguish, embarrassment, humiliation, loss of

privacy, and punitive damages, plus the costs of this action, together with

reasonable attorney’s fees.

                                   COUNT TWO
                       Negligent Noncompliance with the FCRA

         12.   Plaintiffs adopt the allegations set forth in paragraphs 1 through 7

above.

         13.   Defendant, at the very least, was negligent in failing to comply with

the requirements of the FCRA, as noted in Paragraphs 1-7 above.

         14.   Defendant is liable to Plaintiff for its negligent noncompliance with the

FCRA for actual damages, including damages suffered as a result of Plaintiff’s




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mental and emotional distress, anguish, humiliation, embarrassment, and loss of

privacy, plus the costs of this action, together with reasonable attorney’s fees.

                               PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays for the following relief:

      A)     Entry of Judgment against Defendant on all Counts;

      B)     An award of actual damages to compensate Plaintiff for his injuries;

      C)     An award of punitive damages;

      D)     Trial by jury;

      E)     Costs of this action;

      F)     Reasonable attorney’s fees; and

      G.     Any and all relief to which Plaintiff may be entitled.


                                               BOROWITZ & GOLDSMITH, PLC



                                               By: /s/ Zachary L. Taylor
                                                  DAVID B. MOUR
                                                  ZACHARY L. TAYLOR
                                                  401 W. Main St., Suite 1100
                                                  Louisville, Kentucky 40202
                                                  (502) 584-7371
                                                  ztaylor@bglaw.com
                                                   Counsel for Plaintiff




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